        Case 23-13359-VFP           Doc 741 Filed 06/16/23 Entered 06/16/23 11:09:29                      Desc
                                     Hearing on BK Case Page 1 of 1
Form ntchrgbk

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                          Case No.: 23−13359−VFP
                                          Chapter: 11
                                          Judge: Vincent F. Papalia

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Bed Bath & Beyond Inc.
   650 Liberty Avenue
   Union, NJ 07083
Social Security No.:

Employer's Tax I.D. No.:
  11−2250488

                                              NOTICE OF HEARING



PLEASE TAKE NOTICE that a hearing will be held at

Courtroom 3B, Martin Luther King, Jr. Federal Building, 50 Walnut Street, 3rd Floor, Newark, NJ 07102

on 6/27/23 at 02:30 PM

to consider and act upon the following:


714 − Document re: Notice to Contract Parties to Potentially Assumed Executory Contracts and Unexpired Leases
(related document:92 Order (Generic)) filed by Michael D. Sirota on behalf of Bed Bath & Beyond Inc.. (Sirota,
Michael)

727 − Objection to to Notice to Contract Parties to Potentially Assumed Executory Contracts and Unexpired Leases
(related document:714 Document re: Notice to Contract Parties to Potentially Assumed Executory Contracts and
Unexpired Leases (related document:92 Order (Generic)) filed by Michael D. Sirota on behalf of Bed Bath &
Beyond Inc.. filed by Debtor Bed Bath & Beyond Inc.) filed by Jeffrey Kurtzman on behalf of Water Tower Square
Associates. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Certificate of Service) (Kurtzman, Jeffrey)




Dated: 6/16/23

                                                           Jeanne Naughton
                                                           Clerk, U.S. Bankruptcy Court
